




NO. 07-07-0502-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



FEBRUARY 5, 2008

______________________________



TERRY GOODMAN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE DRUG IMPACT COURT OF JEFFERSON COUNTY;



NO. 99289; HONORABLE LARRY GIST, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

Appellant, Terry Goodman, acting pro se, filed a document with this Court on December 21, 2007, entitled “Petition for Discretionary Review,” which, as we read the document, raises issues regarding the merits of his conviction and sentencing in cause number 99289 in the Drug Impact Court of Jefferson County. &nbsp;We dismiss for want of jurisdiction.

This Court’s appellate jurisdiction is generally limited to cases appealed from trial courts within our district. &nbsp;
Tex. Gov’t Code Ann
. § 22.201 (Vernon 2004). &nbsp;Appellant identifies no applicable exception to this general rule.

Further, we take judicial notice that a case search of the Ninth District Court of Appeals’s website reveals that an appeal of the judgment entered in cause number 99289 in the Drug Impact Court of Jefferson County is currently pending before that Court. &nbsp;Appellant has identified no authority for our jurisdiction to consider this appeal, especially as it appears that the appeal is currently pending before another Court.

For these reasons, we conclude that we lack jurisdiction over appellant’s attempted appeal. &nbsp;Accordingly, it is dismissed.



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice







Do not publish. &nbsp;&nbsp;


